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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


PERRY VINCENT BRADLEY,
                                                               Case No. 1:09-cv-1070
               Plaintiff
                                                               Hon. Robert J. Jonker
v.

RICHARD HALLWORTH, et al.,

               Defendants.
                                      /
                                              ORDER

               Plaintiff has filed a § 1983 civil rights action against defendants. This matter is now

before the court on correspondence sent by plaintiff to the Clerk’s Office which has been docketed

as a “motion to compel the attorney general’s office to provide addresses (under seal to the court)

of the remaining unserved defendants” (docket no. 24), specifically defendants Lacy, Heebsch,

Squier and McQueen. This letter motion is not properly before the court. See W.D. Mich. LCivR

7.1(a) (requiring that motions filed in this court must be accompanied by a supporting brief, which

“shall contain a concise statement of the reasons in support of the party’s position and shall cite all

applicable federal rules of procedure, all applicable local rules, and the other authorities upon which

the party relies” and that “[b]riefs shall not be submitted in the form of a letter to the judge”).

               The court typically strikes such motions for failing to comply with the local court

rules. However, it is unnecessary to strike plaintiff’s motion because these four defendants have

been served. Defendants McQueen and Squier have filed and answer, and defendants Heebsch and

Lacy have filed a motion for summary judgment. See docket nos. 41 and 55. Accordingly,

plaintiff’s motion to compel (docket no. 24) is DENIED as moot.
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      IT IS SO ORDERED.

Dated: October 21, 2010            /s/ Hugh W. Brenneman, Jr.
                                   Hugh W. Brenneman, Jr.
                                   United States Magistrate Judge




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